Case 22-50073        Doc 178       Filed 04/06/22     Entered 04/06/22 15:53:39      Page 1 of 4




                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                 BRIDGEPORT DIVISION


                                              :        CHAPTER 11
In re:                                        :
                                              :        Case No. 22-50073(JAM)
HO WAN KWOK,                                  :
                                 Debtor.      :
                                              :        April 6, 2022


       JOINDER OF CREDITORS RUI MA, WEICAN MENG AND ZHENG WU
     TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ LIMITED
      OBJECTION TO DEBTOR’S APPLICATION FOR ENTRY OF AN ORDER
           AUTHORIZING THE EMPLOYMENT AND RETENTION OF
            BROWN RUDNICK LLP AS COUNSEL FOR THE DEBTOR

         Creditors Rui Ma, Weican Meng and Zheng Wu (“Creditors”), by and through their

undersigned counsel, hereby submit this joinder to the Official Committee of Unsecured Creditors’

(the “Committee”) Limited Objection (the “Committee’s Limited Objection”) [ECF 164] to the

Debtor’s Application for Entry of an Order Authorizing the Employment and Retention of Brown

Rudnick LLP (“Brown Rudnick”) as Counsel for the Debtor (the “Application”) [ECF 86], and

respectfully state as follows:

         1.     The Creditors join the Committee’s Limited Objection to the Application. The

Creditors share the Committee’s concerns regarding the propriety and excessive retainer amount

received by Brown Rudnick. It should be investigated whether a portion of either of the $500,000

retainer payments constitute a preference, or otherwise should be transferred to the estate. In

addition, the Creditors question whether Brown Rudnick can cost-effectively represent the Debtor

in this purportedly minimal asset case with rates far exceeding those of comparable counsel in this

jurisdiction.



                                                  1
KBM/M1738/1001/1823665v1
04/06/22-HRT/BD
Case 22-50073        Doc 178      Filed 04/06/22      Entered 04/06/22 15:53:39        Page 2 of 4




       2.      The Creditors also note that they have reviewed the various disclosures made by

Brown Rudnick in the Application and have concerns. For instance, while Brown Rudnick

discloses it has previously represented Mr. Zheng Wu (or an affiliated entity) [ECF 86 at p.35

(Schedule 2)], no one has reached out to Mr. Wu to discuss the potential conflict or to seek a

waiver, nor has Brown Rudnick explained to Mr. Wu why it is not a conflict for the firm to serve

as Debtor’s counsel. At minimum, such disclosure should have been made to the Debtor prior to

Brown Rudnick’s engagement. The Creditors are evaluating this matter and reserve all their rights.

                                          CONCLUSION

       WHEREFORE, the Creditors request that the Court deny the Application unless it is

modified as requested in the Committee’s Objection, and until all potential conflicts are resolved,

and grant such other and further relief as is just and proper.



 Dated: April 6, 2022                           /s/ Kristin B. Mayhew
                                               Kristin Mayhew
                                               MCELROY, DEUTSCH, MULVANEY &
                                               CARPENTER, LLP
                                               30 Jelliff Lane
                                               Southport, CT 06890
                                               (203) 319-4000
                                               kmayhew@mdmc-law.com

                                               - and -

                                               Carollynn H.G. Callari (pro hac vice)
                                               David S. Forsh (pro hac vice)
                                               CALLARI PARTNERS LLC
                                               One Rockefeller Plaza, 10th Floor
                                               New York, NY 10020
                                               (212) 202-3050
                                               ccallari@callaripartners.com
                                               dforsh@callaripartners.com

                                               Attorneys for Rui Ma, Weican Meng and Zheng
                                               Wu

                                                  2
KBM/M1738/1001/1823665v1
04/06/22-HRT/BD
Case 22-50073       Doc 178     Filed 04/06/22      Entered 04/06/22 15:53:39        Page 3 of 4




                                CERTIFICATE OF SERVICE

       I, Kristin B. Mayhew, hereby certify that a true and accurate copy of the foregoing

Joinder of Creditors Rui Ma, Weican Meng and Zheng Wu to the Official Committee of

Unsecured Creditors’ Limited Objection to Debtor’s Application for Entry of an Order

Authorizing the Employment and Retention of Brown Rudnick LLP as Counsel for the Debtor

was filed with the Court on April 6, 2022. Notice of this filing will be sent by e-mail to all

parties by operation of the court’s electronic filing system. Parties may access this filing

through the court’s CM/ECF System.




                                                     /s/ Kristin B. Mayhew
                                             Kristin B. Mayhew




                                                3
KBM/M1738/1001/1823665v1
04/06/22-HRT/BD
Case 22-50073       Doc 178   Filed 04/06/22   Entered 04/06/22 15:53:39   Page 4 of 4




                                           4
KBM/M1738/1001/1823665v1
04/06/22-HRT/BD
